              Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 1 of 19



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15   UNITED STATES OF AMERICA,                        CASE NO. 19-71145 TSH
                                                                         I




16           Plaintiff,                               MEMORANDUM IN SUPPORT OF
                                                      GOVERNMENT'S MOTION TO DETAIN
17      V.                                            DEFENDANT PENDING TRIAL

18   KAREN CASTRO-TORRES,                             Hearing date: August 5, 2019, at 10:30 am

19           Defendant.

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     MEMO. I/S/O GOVT'S MOT. TO DETAIN
     19-71145 TSH
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 2 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 3 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 4 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 5 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 6 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 7 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 8 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 9 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 10 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 11 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 12 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 13 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 14 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 15 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 16 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 17 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 18 of 19
Case 3:19-cr-00367-CRB Document 32 Filed 08/05/19 Page 19 of 19
